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Parke-Davis

Medical & Scientific Affairs

 

 

 

 

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Central Nervous System Specialty Group

 

 

 

 

 

TO: Medical Liaisons and Associate Medical Directors
FROM: Pat Woster, Pharm.D.
Chair
CC: Ken Massey, Pharm.D.; Marge Orwig
RE: Articles for distribution
May 16, 1999

This installment has something for everyone. ENJOY!!!
GABAPENTIN/PREGABALIN |

e Field, et al. Gabapentin and pregabalin, but not morphine and amitriptyline, block both static
and dynamic components of mechanical allodynia induced by streptozocin in the rat. Pain
1999; 80: 391-8.

e This article supports the use of gabapentin and pregabalin for treatment of neuropathic pain.
The results show that gabapentin and pregabalin given orally dose-dependently blocked both
static and dynamic allodynia. Morphine and amitriptyline dose-dependently blocked static
allodynia, but not dynamic allodynia. The R-enantiomer of pregabalin was found to be
inactive.

e Rosebush, P et al. Catatonia following gabapentin withdrawal. J Clin Psychopharmacol!
1999:19:188-9. Interesting case report of a patient that developed catatonia within 48 hours
after the last dose of a tapered gabapentin withdrawal regimen. The authors hypothesize
that GABAergic systems may play a role in the syndrome of catatonia and that gabapentin
may precipitate this in individuals with underlying mood disorders.

e Hatzimanolis, J. Gabapentin as monotherapy in the treatment of acute mania. European
Neuropsychopharmacology 1999;9: 257-8. Two case reports of gabapentin being used to-
treat acute mania. The results are marginal, but the authors suggest further investigation is
warranted.

e Vadivelu, N. et al. Neuropathic pain after anti-HIV gene therapy successfully treated with
gabapentin. A report of successful treatment of neuopathic pain in a patient receiving anti-
HIV gene therapy.

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e Covington, E. et al. Use of gabapentin during sedative withdrawal. Pain Medicine 1997; 12:
1-4. The results of 7 chronic pain patients physically dependent on sedatives (mostly
benzodiazepines) treated in a pain rehab program are reported. The patients underwent
sedative detoxification with gabapentin to help minimize the withdrawal symptoms. There is
a table in the text that outlines the type of pain and gabapentin doses used in each patient.

e Mikata, M. et al. Gabapentin in the treatment of refractory partial epilepsy in children with
intellectual disability. Journal of Intellectual Disability Research 1998; 42: 57-62. This article
reviews the use of gabapentin in 32 children (ages 2 - 17) with intellectual disability (n=26)
and normal children (n=6) who have refractory partial epilepsy as an adjunctive medication to
their regimen. The article provides some guidance for pediatric dosing. The authors
conclude that gabapentin is effective in normal and intellectually disabled children, but
children with disability who are also less than 10 years old with a baseline attention deficit
may be at higher risk for behavioral side effects.

e Boyd, R. et al. Effects of age and gender on single-dose pharmacokinetics of gabapentin.
Epilepsia 1999; 40: 474-9. Healthy subjects (aged 20 - 78) were given a single 400 mg dose
of gabapentin. Serial blood samples and total urine output were collected. No change in
Cmax, Tmax or VD with respect to age was noted. A significant decline in oral clearance,
elimination rate constant and renal clearance was noted with increasing age. The total
urinary recovery of unchanged drug did not change with age, therefore these declines can be
explained by a decline in renal clearance with age. There was a significantly higher Cmax in
women versus men that the authors attribute to body size differences.

e Letterman, L. et al. Gabapentin: A review of published experience in the treatment of bipolar
disorder and other psychiatric conditions. Pharmacotherapy 1999; 19: 565-72. Everything
you ever wanted to know about the use of gabapentin in psychiatric conditions is referenced
in this review. The authors do a nice job of reviewing the available published information
regarding gabapentin in bipolar disorders, anxiety disorders, substance abuse, children and
the elderly. The authors conclude that controlled trials are needed before gabapentin can be
recommended first line in these patient populations.

e Gironel, A et al. A randomized placebo-controfled comparative trial of gabapentin and
propranolol in essential tremor. Arch Neurol. 1999;56:475-80. The results showed that both
propranolol and gabapentin produced significant and comparable efficacy in reducing tremor
in this small patient population studied.

* Bryans, J. et al. 3-substituted GABA analogs with central nervous system activity: a review.
Med Re Rev, 1999; 19:149-77. A comprehensive reference for gabapentin and pregabalin
questions. A review of the development of gabapentin as an anticonvulsant and other
therapeutic uses is included. Pregabalin is also reviewed. The studies on the MOA are
discussed.

e Pan,H. etal. Gabapentin suppresses ectopic nerve discharges and reverses allodynia in
neuropathic rats. JPET 1999;288:1026-30. This study provides electrophysiological
evidence that gabapentin is capable of suppressing the ectopic discharge activity from injured
peripheral nerves.

e Leppik, |. etal. Treatment of epilepsy in women of childbearing potential. Issues in
management. CNS Drugs 1999; 11: 191-206. For your files.

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PHENYTOIN

Yoshikawa, H et al. Extremely acute phenytoin-induced peripheral neuropathy. A case
report of a patient that developed peripheral neuropathy a few hours after the initial
administration of phenytoin.

Steiner, T. et al. Lamotrigine monotherapy in newly diagnosed untreated epilepsy: a double-
blind comparison with phenytoin. The patients were newly diagnosed patients with partial
seizures or secondarily generalized tonic-clonic seizures. Both lamotrigine and phenytoin
were similarly effective. Lamotrigine had a higher incidence of rash but a lower incidence of
central nervous system side effects.

CITALOPRAM

Pallanti, S. et al. Citalopram and sexual side effects of selective serotonin reuptake
inhibitors. Letters to the editor. Am J Psychiatry 1999; 156:796. A letter to the editor
describing the lack of sexual side effects in patients treated with citalopram that had
previously experienced sexual dysfunction with other SSRIs.

Ashton, A. Sildenafil treatment of serotonin reuptake inhibitor-induced sexual dysfunction. J
Clin Psychiatry 1999; 60:194-5. Case reports of the use of Viagra to treat SSRI-induced
sexual dysfunction. (This one is for you, Dr. Eudaric!).

The Medical Letter. April 9, 1999. Drugs for depression and anxiety.

The Medical Letter, December 4, 1998. Citalopram for depression. (Sorry, this one got "lost"
on my desk).

Comelius, J. et al. J Clin Pscyhopharmacol 1999; 2:183-4. Fluoxetine versus placebo to
decrease the smoking of depressed alcoholic patients. The authors took patients involved in
a study of the efficacy of fluoxetine vs placebo in depressed alcoholics and iooked at their
smoking history before and during the study. The patients did not receive counseling for
smoking cessation or any pharmacologic therapies. There was a decrease in the number of
cigarettes smoked in the fluoxetine treated group. Not scientific, but interesting.

Michels, K. Problems assessing nonserious adverse drug reactions: antidepressant drug
therapy and sexual dysfunction. Pharmacotherapy 4999:19:424-9. The author makes a
plea for better reporting of nonserious ADRs. Citalopram is not mentioned, but it provides a
nice review of what we know already....the inaccurate reporting of incidence rates of sexual
dysfunction with the SSRIs.

Evans, D. et al. Depression in the medical setting: biopsychological interactions and
treatment considerations. J Clin Psychiatry 1999;60:40-55. An interesting article that looks
at depression in coronary artery disease, cancer, HIV infection, Parkinson's, pain, and
menopause. Citalopram is not included in the discussions regarding SSRI use in the various
medical conditions. The authors suggest that depression is underdiagnosed and
undertreated in various medical conditions and that treatment would improve morbidity and
mortality in these conditions.

Shelton, R. Treatment options for refractory depression. J Clin Psychiatry 1999;60:57-61.
The article reviews treatment options for patients with refractory depression.

Joffe, R. Sustitution therapy in patients with major depression. CNS Drugs 1999;11:175-80.
Another article that reviews the treatment options available to patients who have an

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inadequate response to initial treatment. The options include optimization,
augmentation/combination treatment and substitution.

Gorman, J. et al. SSRis and SNRIs: broad spectrum of efficacy beyond major depression. J.

Clin. Psychiatry 1999;60: 33-8. The article reviews the support for these agents in the
treatment for panic disorder, OCD, social phobia, PTSD, and bulimia. They also review their
uses in dysthymia and GAD.

Van Ameringen, M. et al. Selective serotonin reuptake inhibitors in the treatment of social
phobia. The emerging gold standard. CNS Drugs 1999;11:307-15. This article is a useful
review of the treatment of social phobia. There is a table of drugs other than SSRIs in the
treatment of social phobia. There is also a table that reviews the studies using SSRIs for the
treatment of social phobia. Citalopram is mentioned in the article.

Emsiie, G. et al. Depression in children and adolescents. A guide to diagnosis and
treatment. CNS Drugs, 1999; 11:181-9. I thought ! would include this as a reference for
questions regarding dosing in children. Citalopram is mentioned in the article with dosing
recommendations.

Edwards, J.G. et al. Systematic review and guide to selection of selective serotonin reuptake

inhibitors. Drugs 1999; 57: 507-33. A comprehensive review of the data available on the
efficacy, tolerability and use of the SSRIs. There are tables available for quick reference.
Citalopram is included.

Gillman, PK. The serotonin syndrome and its treatment. J of Psychopharmacology 1999; 13:

100-9. For your files

 
